807 F.2d 175Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.David E. PASCHALL, Plaintiff-Appellant,v.Ralph W. PACKARD, Warden, Defendant-Appellee.
    No. 86-6735.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 17, 1986.Decided Dec. 5, 1986.
    
      Before RUSSELL and WIDENER, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      David E. Paschall, appellant pro se.
      Mary Ellen Barbera, Office of the Attorney General, for appellee.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the magistrate's recommendation discloses that this appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Paschall v. Packard, C/A No. 86-175-R (D.Md., Aug. 8, 1986).
    
    
      2
      AFFIRMED.
    
    